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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

NO. 23-4293-DHH


                                UNITED STATES OF AMERICA


                                                 v.

                                  JACK DOUGLAS TEIXEIRA

                               ORDER PURSUANT TO
                      FEDERAL RULE OF CRIMINAL PROCEDURE 5

                                          April 14, 2023

Hennessy, U.S.M.J.

         In compliance with the Due Process Protections Act, the Court issues the following Order.

Consistent with Brady v. Maryland, 373 U.S. 83 (1963), and its progeny:

         The United States is ordered to disclose all exculpatory information, in a timely manner,

to the defendant. This information includes, but is not limited to, evidence that is material and is

favorable to any of the defendant. Specific categories of exculpatory evidence that must be

provided to the defendant are set out in Local Rule 116.2. The failure to discharge this obligation

may result in consequences, including the reversal of any conviction, exclusion of evidence,

adverse jury instructions, dismissal of charges, contempt proceedings, and/or sanctions by the

Court.

So Ordered.


                                              / s / David H. Hennessy
                                              David H. Hennessy
                                              United States Magistrate Judge
